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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PEDRO LOPEZ, ET AL.,

V. SUMMONS IN A CIVIL CASE

CITY OF LAWRENCE, MASSACHUSETTS, ET
AL,

CASE NUMBER: 1:07-CV-11693-—JLT

TO: (Name and address of Defendant)

William F. Martin, Jr.
Mayor

City of Lowell

City Hall

375 Merrimack Street
Lowell, MA 01852

YOU ARE HEREBY SUMMONED and required to serve on

Leah Marie Barrault

° Pyle, Rome, Lichten, Ehrenberg & Liss-Riordan, P.C.
18 Tremont Street, Suite 500
Boston, MA 02108

an answer to the complaint which is served on you with this summons, within 20 days after
service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint. Any answer that you serve

on the parties to this action must be filed with the Clerk of this Court within a reasonable period
of time after service.

SARAH ALLISON THORNTON
CLERK

/s/ - Kimberly M. Abaid
(By) DEPUTY CLERK

ISSUED ON 2008-01-07 09:29:56.0, Clerk
USDC DMA
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Middlesex Sheriff's Office « Civil Process Division, P.O. Box 71 35, Lowell, MA 01852-0135 + (978) 452-3224
Middlesex, ss.

Serv

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-— LAIST in this action in the foliowin . ng ey net GEREELER CODY Of the SUMMONS an

. ren i . manner: To wit, by deliverins j
person caryi 7 ering in hand to RICHARD ’
OF DOWELL orrT Tan g suvice for WILLIAM F. MARTIN, JR, MAYOR, at. 75 MERRIMAC ok) CIT
1 60) Travel ig to TRF EL, ELA CIS52. Attest CB5.005, Basic Service Fee GIG. 68, Post 1 - Bet, ¥
PL), Lravel CEG OO} Total Charges $52.00 00}, Postage and Handling
Deputy Sheriff
C3 Returned unexecuted:
CI. Other (specify) :
STATEMENT OF SERVICE FEES
TRAVEL SERVICES , TOTAL

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct,

Executed on

Date Signature of Server

Address of Server

